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                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

   CYNTHIA D. PAJAK,

           Plaintiff,

   v.                                                           CIVIL ACTION NO. 1:19-CV-160
                                                                     Hon. Thomas S. Kleeh
   UNDER ARMOUR, INC.,
   UNDER ARMOUR RETAIL, INC.,
   and BRIAN BOUCHER,

           Defendants.

        STIPULATION TO AMEND PLEADINGS TO WITHDRAW SPOLIATION CLAIMS
           AND PLAINTIFF’S WITHDRAWAL OF MOTION FOR RELATED RELIEF

           Plaintiff Cynthia D. Pajak and Defendants Under Armour, Inc., Under Armour Retail, Inc.

   and Brian Boucher, by counsel, stipulate and agree pursuant to Rule 15(a)(2) of the Federal Rules

   of Civil Procedure, that Ms. Pajak hereby amends Plaintiff’s Amended Complaint to withdraw the

   claims for intentional spoliation, as asserted in the Fifth and Sixth Counts of Plaintiff’s Amended

   Complaint [ECF 291]. Additionally, Plaintiff hereby withdraws Cynthia D. Pajak’s Renewed

   Motion for an Adverse Inference Jury Instruction Regarding Defendants’ Spoliation of Evidence

   [ECF 902].

           Respectfully submitted this 2nd day of June, 2023.

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